              Case 16-34565-KRH                           Doc 12            Filed 09/30/16 Entered 09/30/16 14:38:53                                                 Desc Main
                                                                           Document      Page 1 of 59
 Fill in this information to identify your case:

 Debtor 1                   Carla C Minor
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF VIRGINIA (RICHMOND DIVISION)

 Case number           16-34565
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             200,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              14,996.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             214,996.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             330,498.11

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                2,822.67

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             211,043.35


                                                                                                                                     Your total liabilities $               544,364.13


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                4,662.20

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                4,312.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                          Desc Main
                                                                     Document      Page 2 of 59
 Debtor 1      Carla C Minor                                                              Case number (if known) 16-34565

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $           5,855.66


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              2,822.67

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            155,402.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $            158,224.67




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
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               Case 16-34565-KRH                               Doc 12            Filed 09/30/16 Entered 09/30/16 14:38:53                                   Desc Main
                                                                                Document      Page 3 of 59
 Fill in this information to identify your case and this filing:

 Debtor 1                    Carla C Minor
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF VIRGINIA (RICHMOND DIVISION)

 Case number            16-34565                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        18038 Clark and York Blvd                                                      Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Ruther Glen                       VA        22546-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $200,000.00                $200,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        Caroline                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $200,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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             Case 16-34565-KRH                        Doc 12            Filed 09/30/16 Entered 09/30/16 14:38:53                                      Desc Main
                                                                       Document      Page 4 of 59
 Debtor 1        Carla C Minor                                                                                      Case number (if known)       16-34565
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Toyota                                    Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Camry SE                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2014                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                  30,000                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                              $11,500.00                 $11,500.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $11,500.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Bedroom Set, Coffee Table, Dining Room Set, Dresser with Mirror,
                                    End Tables, Floor Lamps, Kitchen Chair, Kitchen Set, Sofa,
                                    Pillows, Throw Rugs, Washer/Dryer                                                                                               $1,355.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
        No
        Yes. Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
           Case 16-34565-KRH                                      Doc 12               Filed 09/30/16 Entered 09/30/16 14:38:53                           Desc Main
                                                                                      Document      Page 5 of 59
 Debtor 1          Carla C Minor                                                                                              Case number (if known)   16-34565
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            [womens clothing] Sweaters, dresses, shirts, handbags, hats,
                                            Pants Suits, Shoes/Boots, skirts, slips, socks                                                                               $341.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Wedding Band                                                                                                                 $200.00


                                            Misc. jewelry                                                                                                                $200.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            1 Dog - Yorkie-Poo Mix                                                                                                           $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $2,096.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Savings                                 Bank of America                                                      $1,200.00



                                              17.2.       Checking                                Navy FCU                                                                   $0.00



                                              17.3.       Savings                                 Navy FCU                                                                   $0.00



Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 3
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           Case 16-34565-KRH                           Doc 12         Filed 09/30/16 Entered 09/30/16 14:38:53                               Desc Main
                                                                     Document      Page 6 of 59
 Debtor 1         Carla C Minor                                                                                 Case number (if known)    16-34565
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                   Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                               % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                              Institution name:

                                                                              Virginia Retirement System account                                            $200.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                            Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.




Official Form 106A/B                                                   Schedule A/B: Property                                                                   page 4
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           Case 16-34565-KRH                              Doc 12            Filed 09/30/16 Entered 09/30/16 14:38:53                                              Desc Main
                                                                           Document      Page 7 of 59
 Debtor 1        Carla C Minor                                                                                                   Case number (if known)        16-34565
28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $1,400.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 5
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            Case 16-34565-KRH                                Doc 12             Filed 09/30/16 Entered 09/30/16 14:38:53                                             Desc Main
                                                                               Document      Page 8 of 59
 Debtor 1         Carla C Minor                                                                                                         Case number (if known)   16-34565

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $200,000.00
 56. Part 2: Total vehicles, line 5                                                                           $11,500.00
 57. Part 3: Total personal and household items, line 15                                                       $2,096.00
 58. Part 4: Total financial assets, line 36                                                                   $1,400.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $14,996.00              Copy personal property total              $14,996.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $214,996.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 6
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                           Best Case Bankruptcy
              Case 16-34565-KRH                       Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                             Desc Main
                                                                     Document      Page 9 of 59
 Fill in this information to identify your case:

 Debtor 1                 Carla C Minor
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF VIRGINIA (RICHMOND DIVISION)

 Case number           16-34565
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      Bedroom Set, Coffee Table, Dining                               $1,355.00                                  $1,355.00     Va. Code Ann. § 34-26(4a)
      Room Set, Dresser with Mirror, End
      Tables, Floor Lamps, Kitchen Chair,                                                  100% of fair market value, up to
      Kitchen Set, Sofa, Pillows, Throw                                                    any applicable statutory limit
      Rugs, Washer/Dryer
      Line from Schedule A/B: 6.1

      [womens clothing] Sweaters,                                         $341.00                                  $341.00     Va. Code Ann. § 34-26(4)
      dresses, shirts, handbags, hats,
      Pants Suits, Shoes/Boots, skirts,                                                    100% of fair market value, up to
      slips, socks                                                                         any applicable statutory limit
      Line from Schedule A/B: 11.1

      Wedding Band                                                        $200.00                                  $200.00     Va. Code Ann. § 34-26(1a)
      Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Misc. jewelry                                                       $200.00                                  $200.00     Va. Code Ann. § 34-4
      Line from Schedule A/B: 12.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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            Case 16-34565-KRH                         Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                Desc Main
                                                                     Document     Page 10 of 59
 Debtor 1    Carla C Minor                                                                               Case number (if known)     16-34565
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     1 Dog - Yorkie-Poo Mix                                                 $0.00                                     $0.00       Va. Code Ann. § 34-26(5)
     Line from Schedule A/B: 13.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: Bank of America                                          $1,200.00                                 $1,200.00        Va. Code Ann. § 34-4
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Navy FCU                                                     $0.00                                     $0.00       Va. Code Ann. § 34-4
     Line from Schedule A/B: 17.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: Navy FCU                                                      $0.00                                     $0.00       Va. Code Ann. § 34-4
     Line from Schedule A/B: 17.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Virginia Retirement System account                                  $200.00                                   $200.00        Va. Code Ann. § 34-34
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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              Case 16-34565-KRH                       Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                     Desc Main
                                                                     Document     Page 11 of 59
 Fill in this information to identify your case:

 Debtor 1                   Carla C Minor
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF VIRGINIA (RICHMOND DIVISION)

 Case number           16-34565
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Credit Acceptance                        Describe the property that secures the claim:                 $19,686.00               $11,500.00                     $0.00
         Creditor's Name                          2014 Toyota Camry SE 30,000 miles

         25505 West 12 Mile Rd
                                                  As of the date you file, the claim is: Check all that
         Suite 3000                               apply.
         Southfield, MI 48034                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

                                 Opened
                                 04/16 Last
                                 Active
 Date debt was incurred          7/11/16                   Last 4 digits of account number        4013


         Ladysmith Village
 2.2                                                                                                              $1,890.31             $200,000.00                     $0.00
         Community As                             Describe the property that secures the claim:
         Creditor's Name                          18038 Clark and York Blvd Ruther
                                                  Glen, VA 22546 Caroline County
                                                  As of the date you file, the claim is: Check all that
         po box 11980                             apply.
         Newark, NJ 07101                             Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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            Case 16-34565-KRH                            Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                           Desc Main
                                                                        Document     Page 12 of 59
 Debtor 1 Carla C Minor                                                                                       Case number (if know)         16-34565
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)   Homeowners Assessment and fees
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         Statebridge Company
 2.3                                                                                                                $308,921.80                $200,000.00                  $0.00
         LLC                                        Describe the property that secures the claim:
         Creditor's Name                            18038 Clark and York Blvd Ruther
         5680 Greenwood Plaza                       Glen, VA 22546 Caroline County
         Blvd.
                                                    As of the date you file, the claim is: Check all that
         Suite 100 S                                apply.
         Englewood, CO 80111                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Deed of Trust
       community debt

 Date debt was incurred                                      Last 4 digits of account number         2016


   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $330,498.11
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $330,498.11

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.3
          Stern & Eisenberg PC
          9411 Philadelphia RD Suit M                                                                 Last 4 digits of account number
          Rosedale, MD 21237




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 2 of 2
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              Case 16-34565-KRH                         Doc 12         Filed 09/30/16 Entered 09/30/16 14:38:53                                         Desc Main
                                                                      Document     Page 13 of 59
 Fill in this information to identify your case:

 Debtor 1                     Carla C Minor
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                EASTERN DISTRICT OF VIRGINIA (RICHMOND DIVISION)

 Case number           16-34565
 (if known)                                                                                                                                            Check if this is an
                                                                                                                                                       amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          Caroline County Treasurer Offi                         Last 4 digits of account number       5940                 $652.85              $652.85                 $0.00
              Priority Creditor's Name
              Po Box 431                                             When was the debt incurred?
              Bowling Green, VA 22427
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 24
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            Case 16-34565-KRH                         Doc 12           Filed 09/30/16 Entered 09/30/16 14:38:53                                             Desc Main
                                                                      Document     Page 14 of 59
 Debtor 1 Carla C Minor                                                                                      Case number (if know)           16-34565

 2.2        COMMONWEALTH OF VA                                       Last 4 digits of account number     8141                   $669.82                $669.82                   $0.00
            Priority Creditor's Name
            DEPARTMENT OF TAXATION                                   When was the debt incurred?
            P.O. BOX 1880
            Richmond, VA 23218
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          2014

 2.3        Internal Revenue Service - VA                            Last 4 digits of account number                         $1,500.00              $1,500.00                    $0.00
            Priority Creditor's Name
            Centralized Insolvency                                   When was the debt incurred?
            P.O. Box 7346
            Philadelphia, PA 19101-7346
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 15 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.1      Caine & Weiner                                             Last 4 digits of account number       3695                                                   $165.00
          Nonpriority Creditor's Name
          Po Box 5010                                                When was the debt incurred?
          Woodland Hills, CA 91365
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   01 Progressive


 4.2      Capital One                                                Last 4 digits of account number       9863                                                   $957.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/14 Last Active
          Po Box 30285                                               When was the debt incurred?           8/21/15
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.3      Cardiology Assoc of Freder                                 Last 4 digits of account number       5582                                                     $67.00
          Nonpriority Creditor's Name
          9530 Cosner Drive                                          When was the debt incurred?
          Suite 200
          Fredericksburg, VA 22408
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 3 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 16 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.4      Colonial Internal Medicine                                 Last 4 digits of account number       2050                                                     $20.00
          Nonpriority Creditor's Name
          PO BOX 845                                                 When was the debt incurred?
          Fredericksburg, VA 22404
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5      Comenity Bank/Ann Taylor                                   Last 4 digits of account number       0046                                                 $1,203.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/14 Last Active
          Po Box 182125                                              When was the debt incurred?           9/10/15
          Columbus, OH 43218
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.6      Comenity Bank/Dressbarn                                    Last 4 digits of account number       1176                                                   $500.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/14 Last Active
          Po Box 182125                                              When was the debt incurred?           9/10/15
          Columbus, OH 43218
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 4 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 17 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.7      Comenity Capital Bank/HSN                                  Last 4 digits of account number       6835                                                 $3,620.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/14 Last Active
          Po Box 182125                                              When was the debt incurred?           9/10/15
          Columbus, OH 43218
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.8      Dept Of Ed/Navient                                         Last 4 digits of account number       1031                                               $25,810.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 10/12 Last Active
          Po Box 9400                                                When was the debt incurred?           8/31/16
          Wilkes Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.9      Dept Of Ed/Navient                                         Last 4 digits of account number       0912                                               $24,087.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 09/08 Last Active
          Po Box 9400                                                When was the debt incurred?           8/31/16
          Wilkes Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 5 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 18 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.1
 0        Dept Of Ed/Navient                                         Last 4 digits of account number       1020                                               $17,585.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 10/09 Last Active
          Po Box 9400                                                When was the debt incurred?           8/31/16
          Wilkes Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.1
 1        Dept Of Ed/Navient                                         Last 4 digits of account number       1014                                               $13,747.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 10/11 Last Active
          Po Box 9400                                                When was the debt incurred?           8/31/16
          Wilkes Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.1
 2        Dept Of Ed/Navient                                         Last 4 digits of account number       0903                                               $10,664.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 09/14 Last Active
          Po Box 9400                                                When was the debt incurred?           8/31/16
          Wilkes Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 6 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 19 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.1
 3        Dept Of Ed/Navient                                         Last 4 digits of account number       1014                                                 $8,789.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 10/11 Last Active
          Po Box 9400                                                When was the debt incurred?           8/31/16
          Wilkes Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.1
 4        Dept Of Ed/Navient                                         Last 4 digits of account number       0426                                                 $5,117.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 04/99 Last Active
          Po Box 9400                                                When was the debt incurred?           8/31/16
          Wilkes Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.1
 5        Dept Of Ed/Navient                                         Last 4 digits of account number       1030                                                 $4,320.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 10/13 Last Active
          Po Box 9400                                                When was the debt incurred?           8/31/16
          Wilkes Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 7 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 20 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.1
 6        FCBCS, Inc.                                                Last 4 digits of account number                                                              $926.00
          Nonpriority Creditor's Name
          330 S. Warminster Rd. Ste 353                              When was the debt incurred?
          Hatboro, PA 19040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Pendrick Capital Partners LLC (original
              Yes                                                       Other. Specify   creditor: Blue & Grey Emerg. Phys )


 4.1
 7        First National Collection Bu                               Last 4 digits of account number       7130                                                   $827.18
          Nonpriority Creditor's Name
          610 Waltham Way                                            When was the debt incurred?
          Sparks, NV 89434
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 8        Focused Recovery Solutions                                 Last 4 digits of account number       1856                                                   $200.00
          Nonpriority Creditor's Name
          9701-Metropolitan Ct                                       When was the debt incurred?           Opened 10/11
          Ste B
          Richmond, VA 23236
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Spotsylvania Regional
              Yes                                                       Other. Specify   Med Ctr




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 8 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 21 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.1
 9        Focused Recovery Solutions                                 Last 4 digits of account number       8124                                                   $130.00
          Nonpriority Creditor's Name
          9701-Metropolitan Ct                                       When was the debt incurred?
          Ste B
          Richmond, VA 23236
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Spotsylvania Regional Med Ct


 4.2
 0        Focused Recovery Solutions                                 Last 4 digits of account number       4670                                                   $130.00
          Nonpriority Creditor's Name
          9701-Metropolitan Ct                                       When was the debt incurred?
          Ste B
          Richmond, VA 23236
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Spotsylvania Regional Med Ct


 4.2
 1        Fredericksburg Emer Med All.                               Last 4 digits of account number       5691                                                   $388.29
          Nonpriority Creditor's Name
          PO Box 808                                                 When was the debt incurred?
          Grand Rapids, MI 49518
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 9 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 22 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.2
 2        Fredericksburg Hospital Group                              Last 4 digits of account number       7089                                                     $24.00
          Nonpriority Creditor's Name
          PO Box 824153                                              When was the debt incurred?
          Philadelphia, PA 19182
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 3        Fredericksburg Orthopaedic Ass                             Last 4 digits of account number       4273                                                     $50.00
          Nonpriority Creditor's Name
          3310 Fall Hill Ave                                         When was the debt incurred?
          Fredericksburg, VA 22401
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 4        GM Financial                                               Last 4 digits of account number                                                                  $0.00
          Nonpriority Creditor's Name
          75 Remittance Dr                                           When was the debt incurred?
          Ste 1738
          Chicago, IL 60675
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   deficiency balance after repo




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 10 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 23 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.2
 5        Hope International College                                 Last 4 digits of account number       8141                                                 $1,708.00
          Nonpriority Creditor's Name
          2500 East Nutwood Ave.                                     When was the debt incurred?
          Fullerton, CA 92831
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 6        Kay Jewelers                                               Last 4 digits of account number       0830                                                   $105.00
          Nonpriority Creditor's Name
          375 Ghent Road                                             When was the debt incurred?
          Akron, OH 44333
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.2
 7        Macys                                                      Last 4 digits of account number       6233                                                       $0.00
          Nonpriority Creditor's Name
          9111 Duke Blvd                                             When was the debt incurred?
          Mason, OH 45040-8999
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 11 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 24 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.2
 8        Mary Wash Hlth care                                        Last 4 digits of account number       3004                                                   $135.00
          Nonpriority Creditor's Name
          2300 Fall Hill Ave                                         When was the debt incurred?
          Ste 101
          Fredericksburg, VA 22401
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 9        Medical Imaging of Fred'burg                               Last 4 digits of account number       1281                                                   $165.90
          Nonpriority Creditor's Name
          PO Box 7606                                                When was the debt incurred?
          Fredericksburg, VA 22404
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical expenses


 4.3
 0        Merrick Bank/Geico Card                                    Last 4 digits of account number       2586                                                 $1,540.00
          Nonpriority Creditor's Name
                                                                                                           Opened 01/15 Last Active
          Po Box 23356                                               When was the debt incurred?           9/15/15
          Pittsburg, PA 15222
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 12 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 25 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.3
 1        Monarch Recovery Management                                Last 4 digits of account number       6245                                                   $844.18
          Nonpriority Creditor's Name
          10965 Decatur Rd.                                          When was the debt incurred?
          Philadelphia, PA 19154
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Synchrony Bank


 4.3
 2        Nations Recovery Center Inc                                Last 4 digits of account number       6231                                                 $3,620.49
          Nonpriority Creditor's Name
          PO BOX 48719                                               When was the debt incurred?
          Atlanta, GA 30362
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 3        Nationwide Recovery Service                                Last 4 digits of account number       3687                                                   $423.14
          Nonpriority Creditor's Name
          545 W Inman St                                             When was the debt incurred?
          Cleveland, TN 37311
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 13 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 26 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.3
 4        Natiowide Recovery Service                                 Last 4 digits of account number       9423                                                   $418.00
          Nonpriority Creditor's Name
          545 West Inman St                                          When was the debt incurred?           Opened 03/11
          Cleveland, TN 37311
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Sheridan Er Phys Of
              Yes                                                       Other. Specify   Virginia


 4.3
 5        Natiowide Recovery Service                                 Last 4 digits of account number       5059                                                   $327.00
          Nonpriority Creditor's Name
          545 West Inman St                                          When was the debt incurred?           Opened 10/12
          Cleveland, TN 37311
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Sheridan Anesthesia
              Yes                                                       Other. Specify   Svcs Of Va


 4.3
 6        Natiowide Recovery Service                                 Last 4 digits of account number       6445                                                   $153.00
          Nonpriority Creditor's Name
          545 West Inman St                                          When was the debt incurred?           Opened 09/11
          Cleveland, TN 37311
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Sheridan Er Phys Of
              Yes                                                       Other. Specify   Virginia




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 14 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 27 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.3
 7        Natiowide Recovery Service                                 Last 4 digits of account number       2751                                                     $51.00
          Nonpriority Creditor's Name
          Po Box 8005                                                When was the debt incurred?           Opened 07/12
          Cleveland, TN 37320
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Sheridan Anesthesia
              Yes                                                       Other. Specify   Svcs Of Va


 4.3
 8        Natiowide Recovery Service                                 Last 4 digits of account number       2760                                                     $44.00
          Nonpriority Creditor's Name
          545 West Inman St                                          When was the debt incurred?           Opened 01/14
          Cleveland, TN 37311
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Sheridan Anesthesia
              Yes                                                       Other. Specify   Svcs Of Va


 4.3
 9        Navient                                                    Last 4 digits of account number       0918                                               $17,549.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 09/06 Last Active
          Po Box 9500                                                When was the debt incurred?           8/31/16
          Wilkes-Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 15 of 24
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 28 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.4
 0        Navient                                                    Last 4 digits of account number       0315                                                 $6,333.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 03/05 Last Active
          Po Box 9500                                                When was the debt incurred?           3/15/05
          Wilkes-Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.4
 1        Navient                                                    Last 4 digits of account number       0918                                                 $5,988.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 09/06 Last Active
          Po Box 9500                                                When was the debt incurred?           8/31/16
          Wilkes-Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.4
 2        Navient                                                    Last 4 digits of account number       0605                                                 $5,268.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 06/06 Last Active
          Po Box 9500                                                When was the debt incurred?           8/31/16
          Wilkes-Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 16 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 29 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.4
 3        Navient                                                    Last 4 digits of account number       0606                                                 $3,547.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 06/05 Last Active
          Po Box 9500                                                When was the debt incurred?           6/06/05
          Wilkes-Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.4
 4        Navient                                                    Last 4 digits of account number       0315                                                 $2,308.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 03/05 Last Active
          Po Box 9500                                                When was the debt incurred?           3/15/05
          Wilkes-Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.4
 5        Navient                                                    Last 4 digits of account number       0914                                                 $1,788.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 09/05 Last Active
          Po Box 9500                                                When was the debt incurred?           9/14/05
          Wilkes-Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 17 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 30 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.4
 6        Navient                                                    Last 4 digits of account number       1202                                                 $1,736.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 12/05 Last Active
          Po Box 9500                                                When was the debt incurred?           12/02/05
          Wilkes-Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.4
 7        Navient                                                    Last 4 digits of account number       0606                                                   $715.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 06/05 Last Active
          Po Box 9500                                                When was the debt incurred?           6/06/05
          Wilkes-Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.4
 8        Navient                                                    Last 4 digits of account number       0914                                                     $51.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 09/05 Last Active
          Po Box 9500                                                When was the debt incurred?           9/14/05
          Wilkes-Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 18 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 31 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.4
 9        Navy Federal Cr Union                                      Last 4 digits of account number       4153                                                   $501.00
          Nonpriority Creditor's Name
                                                                                                           Opened 05/13 Last Active
          Po Box 3700                                                When was the debt incurred?           8/08/16
          Merrifield, VA 22119
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.5
 0        Parrish Snead Franklin Simpso                              Last 4 digits of account number                                                            $1,890.31
          Nonpriority Creditor's Name
          910 Princess Anne St                                       When was the debt incurred?
          2nd Floor
          Roanoke, VA 24040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5
 1        Prince Wlm County Public Schoo                             Last 4 digits of account number       8141                                                 $1,223.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?
          PO Box 389
          Manassas, VA 20108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   overpayment




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 19 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 32 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.5
 2        Regional Acceptance Co                                     Last 4 digits of account number       4901                                               $16,689.00
          Nonpriority Creditor's Name
                                                                                                           Opened 04/11 Last Active
          304 Kellm Road                                             When was the debt incurred?           1/12/16
          Virginia Beach, VA 23462
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   deficiency balance after repo


 4.5
 3        Santander Consumer Usa                                     Last 4 digits of account number       1000                                               $11,482.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/08 Last Active
          Po Box 961245                                              When was the debt incurred?           3/27/14
          Ft Worth, TX 76161
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   deficiency balance after repo


 4.5
 4        Spotsylvania Multi Specialty                               Last 4 digits of account number       0802                                                     $35.00
          Nonpriority Creditor's Name
          POB 740776                                                 When was the debt incurred?
          Cincinnati, OH 45274
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 20 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 33 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.5
 5        Synchrony Bank/Amazon                                      Last 4 digits of account number       6245                                                   $844.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/14 Last Active
          Po Box 965064                                              When was the debt incurred?           8/10/15
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.5
 6        Tate&Kirlin Associates                                     Last 4 digits of account number       1677                                                   $926.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?
          2810 SouthHampton Rd
          Philadelphia, PA 19154
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5
 7        Travelers Insurance                                        Last 4 digits of account number       8141                                                   $600.00
          Nonpriority Creditor's Name
          9954 Mayland Dr. Ste 6100                                  When was the debt incurred?
          Henrico, VA 23233
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   overpayment




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 21 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 34 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)         16-34565

 4.5
 8        United Consumers Inc                                       Last 4 digits of account number       5078                                                     $24.00
          Nonpriority Creditor's Name
          PO Box 4466                                                When was the debt incurred?
          Woodbridge, VA 22194-4466
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5
 9        United Consumers, Inc                                      Last 4 digits of account number       0100                                                     $48.00
          Nonpriority Creditor's Name
          PO Box 4466                                                When was the debt incurred?
          Woodbridge, VA 22194
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.6
 0        Verizon                                                    Last 4 digits of account number       0001                                                 $2,270.50
          Nonpriority Creditor's Name
          PO Box 17577                                               When was the debt incurred?
          Baltimore, MD 21297-0513
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 22 of 24
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           Case 16-34565-KRH                          Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                          Desc Main
                                                                     Document     Page 35 of 59
 Debtor 1 Carla C Minor                                                                                   Case number (if know)          16-34565

 4.6
 1         Visa Dept Store National Bank                             Last 4 digits of account number       2330                                                   $355.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                                                                Opened 12/14 Last Active
           Po Box 8053                                               When was the debt incurred?           9/09/15
           Mason, OH 45040
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Charge Account


 4.6
 2         Vista Heart and Vascular PPLC                             Last 4 digits of account number       6425                                                     $11.36
           Nonpriority Creditor's Name
           Po Box 3339                                               When was the debt incurred?
           Fredericksburg, VA 22402
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                          0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                      2,822.67
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                      2,822.67

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                  155,402.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                          0.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 23 of 24
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          Case 16-34565-KRH                           Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                          Desc Main
                                                                     Document     Page 36 of 59
 Debtor 1 Carla C Minor                                                                              Case number (if know)   16-34565
                        6h.   Debts to pension or profit-sharing plans, and other similar debts       6h.      $                   0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount    6i.
                              here.                                                                            $              55,641.35

                        6j.   Total Nonpriority. Add lines 6f through 6i.                             6j.      $             211,043.35




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 24 of 24
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              Case 16-34565-KRH                        Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                          Desc Main
                                                                      Document     Page 37 of 59
 Fill in this information to identify your case:

 Debtor 1                  Carla C Minor
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               EASTERN DISTRICT OF VIRGINIA (RICHMOND DIVISION)

 Case number           16-34565
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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              Case 16-34565-KRH                          Doc 12           Filed 09/30/16 Entered 09/30/16 14:38:53               Desc Main
                                                                         Document     Page 38 of 59
 Fill in this information to identify your case:

 Debtor 1                   Carla C Minor
                            First Name                            Middle Name         Last Name

 Debtor 2
 (Spouse if, filing)        First Name                            Middle Name         Last Name


 United States Bankruptcy Court for the:                 EASTERN DISTRICT OF VIRGINIA (RICHMOND DIVISION)

 Case number           16-34565
 (if known)                                                                                                                     Check if this is an
                                                                                                                                amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                        Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




    3.2                                                                                                 Schedule D, line
                Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




Official Form 106H                                                                Schedule H: Your Codebtors                                 Page 1 of 1
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             Case 16-34565-KRH                    Doc 12    Filed 09/30/16 Entered 09/30/16 14:38:53                                  Desc Main
                                                           Document     Page 39 of 59


Fill in this information to identify your case:

Debtor 1                      Carla C Minor

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:        EASTERN DISTRICT OF VIRGINIA (RICHMOND
                                               DIVISION)

Case number               16-34565                                                                        Check if this is:
(If known)
                                                                                                              An amended filing
                                                                                                              A supplement showing postpetition chapter
                                                                                                              13 income as of the following date:

Official Form 106I                                                                                            MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                      Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                      Employed
       attach a separate page with            Employment status
       information about additional                                   Not employed                                  Not employed
       employers.
                                              Occupation           teacher                                       disabled
       Include part-time, seasonal, or
       self-employed work.                    Employer's name      Fredericksburg Public Schools

       Occupation may include student         Employer's address
                                                                   PO Box 267
       or homemaker, if it applies.
                                                                   Fredericksburg, VA 22404

                                              How long employed there?        started in August, 2016

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1          For Debtor 2 or
                                                                                                                              non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.      $         4,029.34        $            0.00

3.     Estimate and list monthly overtime pay.                                              3.     +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.      $      4,029.34               $      0.00




Official Form 106I                                                       Schedule I: Your Income                                                  page 1
           Case 16-34565-KRH               Doc 12       Filed 09/30/16 Entered 09/30/16 14:38:53                                  Desc Main
                                                       Document     Page 40 of 59

Debtor 1    Carla C Minor                                                                         Case number (if known)    16-34565


                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      4,029.34       $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        437.18       $                0.00
      5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $                0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $                0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $                0.00
      5e.    Insurance                                                                     5e.        $        869.56       $                0.00
      5f.    Domestic support obligations                                                  5f.        $          0.00       $                0.00
      5g.    Union dues                                                                    5g.        $          0.00       $                0.00
      5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $                0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,306.74       $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,722.60       $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $                0.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
      8e. Social Security                                                                  8e.        $              0.00   $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $              0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $              0.00
      8h. Other monthly income. Specify: Long Term Disability payment                      8h.+ $                    0.00 + $          1,939.60

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $           1,939.60

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              2,722.60 + $       1,939.60 = $           4,662.20
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.    $          4,662.20
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
       Case 16-34565-KRH                      Doc 12        Filed 09/30/16 Entered 09/30/16 14:38:53                                   Desc Main
                                                           Document     Page 41 of 59


Fill in this information to identify your case:

Debtor 1                 Carla C Minor                                                                     Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF VIRGINIA                                               MM / DD / YYYY
                                          (RICHMOND DIVISION)

Case number           16-34565
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             21                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,393.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            100.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
       Case 16-34565-KRH                      Doc 12        Filed 09/30/16 Entered 09/30/16 14:38:53                                        Desc Main
                                                           Document     Page 42 of 59

Debtor 1     Carla C Minor                                                                             Case number (if known)      16-34565

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                               160.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                                80.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                                 0.00
      6d. Other. Specify: Cellphones                                                                         6d.   $                               267.00
             Cable/internet/telephone                                                                              $                               196.00
7.    Food and housekeeping supplies                                                           7.                  $                               600.00
8.    Childcare and children’s education costs                                                 8.                  $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9.                  $                                72.00
10.   Personal care products and services                                                    10.                   $                                60.00
11.   Medical and dental expenses                                                            11.                   $                               100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  70.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   89.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  108.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Property taxes                                                                16. $                                                  30.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  549.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Pet expenses                                                        21. +$                                                 38.00
      Professional Development for Debtor                                                         +$                                               100.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     4,312.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     4,312.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,662.20
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              4,312.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 350.20

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
              Case 16-34565-KRH                       Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                         Desc Main
                                                                     Document     Page 43 of 59




 Fill in this information to identify your case:

 Debtor 1                    Carla C Minor
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF VIRGINIA (RICHMOND DIVISION)

 Case number              16-34565
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Carla C Minor                                                         X
              Carla C Minor                                                             Signature of Debtor 2
              Signature of Debtor 1

              Date       September 28, 2016                                             Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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              Case 16-34565-KRH                       Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                              Desc Main
                                                                     Document     Page 44 of 59


 Fill in this information to identify your case:

 Debtor 1                  Carla C Minor
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF VIRGINIA (RICHMOND DIVISION)

 Case number           16-34565
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                            Dates Debtor 2
                                                                 lived there                                                                   lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
           Case 16-34565-KRH                          Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                               Desc Main
                                                                     Document     Page 45 of 59
 Debtor 1      Carla C Minor                                                                               Case number (if known)   16-34565


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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           Case 16-34565-KRH                          Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                  Desc Main
                                                                     Document     Page 46 of 59
 Debtor 1      Carla C Minor                                                                               Case number (if known)    16-34565


 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened
       Regional Acceptance                                                                                                    11/2015                           $0.00
       10433 Midlothian Tpke
       Richmond, VA 23235                                            Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.

       General Motors Leasing                                                                                                 05/2016                           $0.00

                                                                     Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
        No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken
       IRS                                                                                                                    4/2016                            $0.00
       Department of Treasury                                    Last 4 digits of account number:
       P.O. BOX 621505
       Atlanta, GA 30362

       VA Dept of Taxation                                                                                                    4/2016                            $0.00
       PO BOx 9056                                               Last 4 digits of account number:
       Pleasanton, CA 94566-9056


12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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           Case 16-34565-KRH                          Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                  Desc Main
                                                                     Document     Page 47 of 59
 Debtor 1      Carla C Minor                                                                               Case number (if known)    16-34565


 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:
       Mt. Zion Baptist Church                                                                                                                                  $0.00


       Person's relationship to you:


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your         Value of property
       how the loss occurred                                                                                                  loss                              lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.
       Fender-Bender (Car Accident)                         at-fault party's insurance, esurance paid for                                                       $0.00
                                                            the damage


 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Tommy Andrews, Jr., P.C.                                                                                               8/16                        $1,000.00
       122 North Alfred Street
       Alexandria, VA 22314


       Debt Education and Certification                                                                                       8/16                            $40.00




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 4
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           Case 16-34565-KRH                          Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                  Desc Main
                                                                     Document     Page 48 of 59
 Debtor 1      Carla C Minor                                                                               Case number (if known)    16-34565


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or          Date transfer was
       Address                                                        property transferred                      payments received or debts        made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                           Date Transfer was
                                                                                                                                                  made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was               Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,              before closing or
       Code)                                                                                                            moved, or                           transfer
                                                                                                                        transferred
       Pension Fund                                              XXXX-                        Checking                                                          $0.00
                                                                                              Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       Employee Stock                                            XXXX-                        Checking                                                          $0.00
                                                                                              Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       401K                                                      XXXX-                        Checking                                                          $0.00
                                                                                              Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
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           Case 16-34565-KRH                          Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                   Desc Main
                                                                     Document     Page 49 of 59
 Debtor 1      Carla C Minor                                                                                     Case number (if known)   16-34565


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                                 have it?
                                                                      State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                         have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 6
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           Case 16-34565-KRH                          Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                             Desc Main
                                                                     Document     Page 50 of 59
 Debtor 1      Carla C Minor                                                                               Case number (if known)   16-34565


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No
             Yes. Fill in the details.
        Case Title                                                    Court or agency                      Nature of the case                    Status of the
        Case Number                                                   Name                                                                       case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Carla C Minor
 Carla C Minor                                                            Signature of Debtor 2
 Signature of Debtor 1

 Date      September 28, 2016                                             Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
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              Case 16-34565-KRH                       Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                Desc Main
                                                                     Document     Page 51 of 59

 Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

 Debtor 1              Carla C Minor                                                                           According to the calculations required by this
                                                                                                               Statement:
 Debtor 2
                                                                                                                     1. Disposable income is not determined under
 (Spouse, if filing)
                                                                                                                        11 U.S.C. § 1325(b)(3).
                                                    Eastern District of Virginia (Richmond                           2. Disposable income is determined under 11
 United States Bankruptcy Court for the:            Division)                                                           U.S.C. § 1325(b)(3).
 Case number           16-34565
 (if known)                                                                                                          3. The commitment period is 3 years.

                                                                                                                     4. The commitment period is 5 years.

                                                                                                                   Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

 Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married. Fill out both Columns A and B, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                 Column B
                                                                                                       Debtor 1                 Debtor 2 or
                                                                                                                                non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                            3,916.66       $               0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                            $              0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                             0.00      $               0.00
  5. Net income from operating a business,
     profession, or farm                                               Debtor 1
        Gross receipts (before all deductions)                            $       0.00
        Ordinary and necessary operating expenses                        -$       0.00
        Net monthly income from a business, profession, or farm $                 0.00 Copy here -> $                 0.00      $               0.00
  6. Net income from rental and other real property                    Debtor 1
        Gross receipts (before all deductions)                           $      0.00
        Ordinary and necessary operating expenses                        -$       0.00
        Net monthly income from rental or other real property            $        0.00 Copy here -> $                 0.00      $               0.00




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                         page 1
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            Case 16-34565-KRH                         Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                                         Desc Main
                                                                     Document     Page 52 of 59
 Debtor 1     Carla C Minor                                                                                      Case number (if known)    16-34565


                                                                                                             Column A                      Column B
                                                                                                             Debtor 1                      Debtor 2 or
                                                                                                                                           non-filing spouse
                                                                                                             $                  0.00       $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                               $                  0.00       $            0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                            $                     0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                  $                  0.00       $            0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
                  Long term disability                                                                       $                  0.00       $         1,939.00
                                                                                                             $                  0.00       $            0.00
                  Total amounts from separate pages, if any.                                            +    $                  0.00       $            0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                     $         3,916.66           +   $      1,939.00      =    $      5,855.66

                                                                                                                                                                 Total average
                                                                                                                                                                 monthly income
 Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                               $          5,855.66
  13. Calculate the marital adjustment. Check one:
              You are not married. Fill in 0 below.
              You are married and your spouse is filing with you. Fill in 0 below.
              You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
              dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
              adjustments on a separate page.
              If this adjustment does not apply, enter 0 below.
                                                                                                    $
                                                                                                    $
                                                                                                 +$

                     Total                                                                        $                     0.00           Copy here=>           -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                                        $          5,855.66

  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=>                                                                                                                         $          5,855.66

                Multiply line 15a by 12 (the number of months in a year).                                                                                        x 12

        15b. The result is your current monthly income for the year for this part of the form. ...........................................               $         70,267.92




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                    page 2
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            Case 16-34565-KRH                         Doc 12          Filed 09/30/16 Entered 09/30/16 14:38:53                       Desc Main
                                                                     Document     Page 53 of 59
 Debtor 1     Carla C Minor                                                                      Case number (if known)   16-34565


  16. Calculate the median family income that applies to you. Follow these steps:
       16a. Fill in the state in which you live.                             VA

       16b. Fill in the number of people in your household.                  3
       16c. Fill in the median family income for your state and size of household.                                                       $     79,956.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
       17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                      11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
       17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                      1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                      your current monthly income from line 14 above.
 Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 18. Copy your total average monthly income from line 11 .                                                                       $                  5,855.66
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
     contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
     spouse's income, copy the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                      -$                       0.00


       19b. Subtract line 19a from line 18.                                                                                          $          5,855.66


 20. Calculate your current monthly income for the year. Follow these steps:
       20a. Copy line 19b                                                                                                                $      5,855.66

              Multiply by 12 (the number of months in a year).                                                                               x 12

       20b. The result is your current monthly income for the year for this part of the form                                             $     70,267.92




       20c. Copy the median family income for your state and size of household from line 16c                                             $     79,956.00


       21. How do the lines compare?

                   Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                   period is 3 years. Go to Part 4.

                   Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                   commitment period is 5 years. Go to Part 4.

 Part 4:       Sign Below
       By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

    X /s/ Carla C Minor
        Carla C Minor
        Signature of Debtor 1
       Date September 28, 2016
            MM / DD / YYYY
       If you checked 17a, do NOT fill out or file Form 122C-2.
       If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                page 3
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    Case 16-34565-KRH   Doc 12    Filed 09/30/16 Entered 09/30/16 14:38:53   Desc Main
                                 Document     Page 54 of 59

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                        ChexSystems
                        Attn: Consumer Relations
                        7805 Hudson Rd., Suite 100
                        Saint Paul, MN 55125


                        Equifax Check Services
                        PO Box 30272
                        Tampa, FL 33630-3272


                        Telecheck Services, Inc.
                        5251 Westheimer
                        Houston, TX 77056


                        TransUnion
                        P.O. Box 2000
                        Chester, PA 19022


                        Experian
                        475 Anton Blvd
                        Costa Mesa, CA 92626


                        Internal Revenue Service - VA
                        Centralized Insolvency
                        P.O. Box 7346
                        Philadelphia, PA 19101-7346


                        Early Warning Services
                        16552 N 90th St.
                        Scottsdale, AZ 85255


                        Virginia Deparment of Taxation
                        c/o TACS
                        PO Box 2156
                        Richmond, VA 23218


                        Caine & Weiner
                        Po Box 5010
                        Woodland Hills, CA 91365


                        Capital One
                        Po Box 30285
                        Salt Lake City, UT 84130
Case 16-34565-KRH   Doc 12    Filed 09/30/16 Entered 09/30/16 14:38:53   Desc Main
                             Document     Page 55 of 59


                    Cardiology Assoc of Freder
                    9530 Cosner Drive
                    Suite 200
                    Fredericksburg, VA 22408


                    Caroline County Treasurer Offi
                    Po Box 431
                    Bowling Green, VA 22427


                    Colonial Internal Medicine
                    PO BOX 845
                    Fredericksburg, VA 22404


                    Comenity Bank/Ann Taylor
                    Po Box 182125
                    Columbus, OH 43218


                    Comenity Bank/Dressbarn
                    Po Box 182125
                    Columbus, OH 43218


                    Comenity Capital Bank/HSN
                    Po Box 182125
                    Columbus, OH 43218


                    COMMONWEALTH OF VA
                    DEPARTMENT OF TAXATION
                    P.O. BOX 1880
                    Richmond, VA 23218


                    Credit Acceptance
                    25505 West 12 Mile Rd
                    Suite 3000
                    Southfield, MI 48034


                    Dept Of Ed/Navient
                    Attn: Claims Dept
                    Po Box 9400
                    Wilkes Barr, PA 18773


                    FCBCS, Inc.
                    330 S. Warminster Rd. Ste 353
                    Hatboro, PA 19040
Case 16-34565-KRH   Doc 12    Filed 09/30/16 Entered 09/30/16 14:38:53   Desc Main
                             Document     Page 56 of 59


                    First National Collection Bu
                    610 Waltham Way
                    Sparks, NV 89434


                    Focused Recovery Solutions
                    9701-Metropolitan Ct
                    Ste B
                    Richmond, VA 23236


                    Fredericksburg Emer Med All.
                    PO Box 808
                    Grand Rapids, MI 49518


                    Fredericksburg Hospital Group
                    PO Box 824153
                    Philadelphia, PA 19182


                    Fredericksburg Orthopaedic Ass
                    3310 Fall Hill Ave
                    Fredericksburg, VA 22401


                    GM Financial
                    75 Remittance Dr
                    Ste 1738
                    Chicago, IL 60675


                    Hope International College
                    2500 East Nutwood Ave.
                    Fullerton, CA 92831


                    Kay Jewelers
                    375 Ghent Road
                    Akron, OH 44333


                    Ladysmith Village Community As
                    po box 11980
                    Newark, NJ 07101


                    Macys
                    9111 Duke Blvd
                    Mason, OH 45040-8999
Case 16-34565-KRH   Doc 12    Filed 09/30/16 Entered 09/30/16 14:38:53   Desc Main
                             Document     Page 57 of 59


                    Mary Wash Hlth care
                    2300 Fall Hill Ave
                    Ste 101
                    Fredericksburg, VA 22401


                    Medical Imaging of Fred'burg
                    PO Box 7606
                    Fredericksburg, VA 22404


                    Merrick Bank/Geico Card
                    Po Box 23356
                    Pittsburg, PA 15222


                    Monarch Recovery Management
                    10965 Decatur Rd.
                    Philadelphia, PA 19154


                    Nations Recovery Center Inc
                    PO BOX 48719
                    Atlanta, GA 30362


                    Nationwide Recovery Service
                    545 W Inman St
                    Cleveland, TN 37311


                    Natiowide Recovery Service
                    545 West Inman St
                    Cleveland, TN 37311


                    Natiowide Recovery Service
                    Po Box 8005
                    Cleveland, TN 37320


                    Navient
                    Attn: Claims Dept
                    Po Box 9500
                    Wilkes-Barr, PA 18773


                    Navy Federal Cr Union
                    Po Box 3700
                    Merrifield, VA 22119
Case 16-34565-KRH   Doc 12    Filed 09/30/16 Entered 09/30/16 14:38:53   Desc Main
                             Document     Page 58 of 59


                    Parrish Snead Franklin Simpso
                    910 Princess Anne St
                    2nd Floor
                    Roanoke, VA 24040


                    Prince Wlm County Public Schoo
                    PO Box 389
                    Manassas, VA 20108


                    Regional Acceptance Co
                    304 Kellm Road
                    Virginia Beach, VA 23462


                    Santander Consumer Usa
                    Po Box 961245
                    Ft Worth, TX 76161


                    Spotsylvania Multi Specialty
                    POB 740776
                    Cincinnati, OH 45274


                    Statebridge Company LLC
                    5680 Greenwood Plaza Blvd.
                    Suite 100 S
                    Englewood, CO 80111


                    Stern & Eisenberg PC
                    9411 Philadelphia RD Suit M
                    Rosedale, MD 21237


                    Synchrony Bank/Amazon
                    Po Box 965064
                    Orlando, FL 32896


                    Tate&Kirlin Associates
                    2810 SouthHampton Rd
                    Philadelphia, PA 19154


                    Travelers Insurance
                    9954 Mayland Dr. Ste 6100
                    Henrico, VA 23233


                    United Consumers Inc
                    PO Box 4466
                    Woodbridge, VA 22194-4466
Case 16-34565-KRH   Doc 12    Filed 09/30/16 Entered 09/30/16 14:38:53   Desc Main
                             Document     Page 59 of 59


                    United Consumers, Inc
                    PO Box 4466
                    Woodbridge, VA 22194


                    Verizon
                    PO Box 17577
                    Baltimore, MD 21297-0513


                    Visa Dept Store National Bank
                    Attn: Bankruptcy
                    Po Box 8053
                    Mason, OH 45040


                    Vista Heart and Vascular PPLC
                    Po Box 3339
                    Fredericksburg, VA 22402
